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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Case. No. 21-287-1 (TNM)
                                     )
KEVIN SEEFRIED                       )
                                     )
                  Defendant.         )
____________________________________ )


 REPLY TO THE GOVERNMENT’S OPPOSITION TO THE DEFENDANT’S
            MOTION FOR RELEASE PENDING APPEAL

      Kevin Seefried, through counsel, respectfully submits this Reply to the

government’s Opposition to his Motion for Release Pending Appeal. In its Opposition,

the government argues, without basis, that Mr. Seefried presents a flight risk. Mr.

Seefried’s records of perfect compliance with conditions of release and his timely

report to prison belie the government’s speculation—based entirely on the conduct of

other January 6th defendants—that Mr. Seefried is now, suddenly, a flight risk. Next,

the government argues that Mr. Seefried’s sentence absent the felony would be the

same. Two district judges have considered precisely the same issue raised by Mr.

Seefried and have reached the opposite conclusion. See Minute Order, United States

v. Clark, 1:21CR538 (DLF) (12/21/23) (granting release pending appeal where

defendant was convicted of obstruction of justice and multiple misdemeanor counts

because “[i]f the felon defendant’s felony conviction were reversed or vacated, the

Court might well impose a different sentence”); see also Memorandum Opinion,

United States v. Adams, 21CR354(APM) (1/10/24) (hereinafter “Adams Mem.Op.”)
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(granting release from Bureau of Prisons pending appeal noting that “if Defendant

were to be resentenced on Count Two [the misdemeanor count], he would be a

misdemeanant, not a felon. This Court consistently has imposed sentences of short

terms of incarceration (90 days or less) or probation with home confinement for

January 6 defendants only convicted of misdemeanants.”). 1

         Because Mr. Seefried’s appeal raises a “substantial question,” he should be

released pending appeal pursuant to 18 U.S.C. § 3143(b).

    I.      As this Court has previously found, Mr. Seefried poses no flight
            risk.

         Mr. Seefried’s behavior since the inception of this case has demonstrated by

clear and convincing evidence that he will not flee and is not a safety risk. From

January 25, 2021, until the day he reported to prison, Mr. Seefried was released on

conditions and a personal recognizance bond. As this Court knows, Mr. Seefried has

lived and worked in Delaware all of his adult life. An hourly-wage earner, he is a man

with little means. If he had any inclination to flee (which he does not), he would not

have the ability to do so. Nevertheless, without evidence to support its contention

that Mr. Seefried is a flight risk, the government speculates that now that he has

gone to prison, he is more likely to flee. See Adams Mem. Op. 2 (granting release

pending appeal for defendant currently serving sentence noting that the “Defendant

lacks the financial resources to flee and has strong community ties.”). The




1Judge Mehta’s Memorandum Opinion addressing the issue raised here—release
pending appeal in light of the Supreme Court’s consideration of Fischer where the
defendant has already reported to his sentence—is attached as Exhibit 1.
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government’s rank speculation is not based on anything Mr. Seefried has said or done

and, respectfully, should not be entertained by this Court.

   II.      Mr. Seefried’s sentence is driven by the obstruction conviction, and
            a new sentence absent that count would warrant release.

         The government argues that because Mr. Seefried was sentenced to 12 months

on the misdemeanor counts, a new sentence absent the obstruction count would not

be shorter than the amount Mr. Seefried has already served plus the duration of the

appeals process. Gov’t Opp. at 6. Not so. Absent the obstruction count, it is highly

likely that a sentence on the misdemeanor counts would be much lower than 12

months. Indeed, this Court has acknowledged that Mr. Seefried’s sentence is “driven

by” the obstruction count. ECF. No. 151 (prior Order granting release pending

appeal). A district judge recently agreed that the obstruction count drives the

sentence in a similar case where, like Mr. Seefried, the defendant was convicted of

obstruction and several misdemeanor counts. In United States v. Clark, the defendant

was convicted of obstruction, three Section 1752 misdemeanor counts, and two

misdemeanor counts under 40 U.S.C. § 5104. United States v. Clark, 1:21CR538-DLF,

ECF. No. 70. He was sentenced to 33 months on the obstruction count, 12 months on

each of the 1752 counts, and six months on each of the petty misdemeanor counts. Id.

The Honorable Judge Friedrich ordered the defendant released pending appeal,

notwithstanding the 12-month sentence the Court imposed for the misdemeanor

counts, finding that:

         It does not matter that the Court also sentenced the defendant to a term
         of incarceration as to the other, misdemeanor counts. Consistent with
         the Sentencing Guidelines, the Court’s sentencing decision was driven

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      by the felony conviction for violation of 18 U.S.C. § 1512. If the
      defendant’s felony conviction were reversed or vacated, the Court might
      well impose a different sentence.

United States v. Clark, 1:21CR538, Minute Order, 12/21/23.

      Similarly, in United States v. Adams, the defendant was sentenced to 14

months incarceration on the obstruction count and 12 months on the misdemeanor

count. The Honorable Judge Mehta rejected the same arguments raised by the

government here and ordered the defendant released from his sentence pending the

Supreme Court’s consideration of Fischer. See Exh 1., Adams Mem. Op. 2.

      Eschewing the clear language in 18 U.S.C. § 3143(b)(1)(B)(iv) in favor of its

own mathematical calculus, the government ignores that Mr. Seefried has already

served over seven months in prison, and by the time Fischer is likely decided he will

have served over 12 months. See Seefried Mot. For Release 8; see also Adams Mem.

Op. 4. There is thus every reason to think based on a review of this Court’s sentences

in misdemeanor-only cases (including those involving multiple convictions) that Mr.

Seefried’s revised sentence would be far less than 12 months. See, e.g., United States

v. Chan, 21-cr-668 (TNM); (3 months’ incarceration) United States v. Cantrell (TNM);,

22-cr-121 (6 months’ incarceration); United States v. Winn, No. 21-cr-139-1 (TNM) (10

days’ incarceration); United States v. Griffin, No. 21-cr-92 (TNM) (14 days’

incarceration); United States v. Cordon, No. 21-cr-277 (TNM) (12 months’ probation);

United States v. Cudd, No. 21-cr-68-1 (TNM) (2 months’ probation); United States v.

Pert, No. 21-cr-139-1 (TNM) (24 months’ probation). Thus, the resolution of the

substantial question raised by Mr. Seefried in his favor is very likely to result in a



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sentence “less than the total of the time already served plus the expected duration of

the appeal process.” 18 U.S.C. § 3143(b)(1)(B)(iv).

                                 Conclusion

      For the reasons herein and in Mr. Seefried’s Motion for Release Pending

Appeal, Mr. Seefried respectfully moves the Court to grant him release pending

appeal in light of the Supreme Court’s grant of certiorari in United States v. Fischer.



                                               Respectfully Submitted,

                                               A. J. KRAMER

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                                               District of Columbia

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